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 1   LESLIE MARK STOVALL, ESQ.
     Nevada Bar No. 2566
 2   ROSS MOYNIHAN, ESQ.
 3   Nevada Bar No. 11848
     STOVALL & ASSOCIATES
 4   2301 Palomino Lane
     Las Vegas, NV 89107
 5   Telephone: (702) 258-3034
 6   E-service: court@lesstovall.com
     Attorney for Plaintiff
 7
                                   UNITED STATES DISTRICT COURT
 8
 9                                        DISTRICT OF NEVADA

10   RANDOLPH DAVILA, individually       )
                                         )                    CASE NO.: 2:18-cv-02235-JAD-VCF
11
                      Plaintiff,         )
12   vs.                                 )
                                         )
13   DEREK WOLFE, individually, DOES I-X )
     and ROE CORPORATIONS I-X inclusive, )
14
                                         )
15                    Defendants.        )
16      PLAINTIFF’S UNOPPOSED MOTION TO EXTEND THE TIME FOR PLAINTIFF
17         TO FILE A RESPONSE TO DEFENDANT’S MOTION FOR PROTECTIVE
                 ORDER FORBIDDING DISCLOSURE (SECOND REQUEST)
18
            COMES NOW Plaintiff, by and through his attorneys, STOVALL & ASSOCIATES, and
19
20   files this Motion to extend the time for plaintiff to file a response to defendant’s motion for

21   protective order forbidding disclosure (ECF NO. 92). This is the second request for an extension
22   of time to oppose this motion. Defendant’s motion was filed on September 21, 2020. Plaintiff’s
23
     response was initially due on October 5, 2020. On October 5, 2020, plaintiff filed his first motion
24
     to extend time to October 19, 2020, which was granted by the court. Through this motion,
25
26   plaintiff requests an additional extension to November 19, 2020 to file the response. The reason

27   for the requested extension is that the parties are attempting to resolve the issues that exist in the
28



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 1   defendant’s motion. Defendant agrees to, and does not oppose, the extension of time requested in
 2   this motion.
 3
            This motion is based upon the pleadings and papers on file herein, the Memorandum of
 4
     Points and Authorities attached hereto, and any oral argument this Court may entertain at the
 5
 6   hearing of this Motion.

 7          Dated this 19th day of October 2020.
                                                                 STOVALL & ASSOCIATES
 8
 9                                                               /s/ Ross Moynihan
                                                                 ________________________
10                                                               ROSS H. MOYNIHAN, ESQ.
                                                                 Nevada Bar No. 11848
11
                                                                 2301 Palomino Lane
12                                                               Las Vegas, Nevada 89107
                                                                 Attorney for Plaintiff
13
14
15
16
17
18          DECLARATION OF PLAINTIFF’S COUNSEL IN SUPPORT OF MOTION
19          ROSS MOYNIHAN, declares and states as follows:
20
            1.      I am an attorney at the Law Office of Stovall & Associates, counsel for Plaintiff,
21
     and am licensed to practice law in the State of Nevada.
22
23          2.      On September 21, 2020, Defendant filed a MOTION for Protective Order

24   Forbidding Disclosure of Privileged Information. ECF NO. 92.
25          3.      Plaintiff’s response to the motion was due on October 5, 2020 when plaintiff filed
26
     an unopposed motion to extend time to file a response to October 19, 2020, and which the court
27
     subsequently granted.
28



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 1          4.      Since that time, the parties have been attempting to resolve the issues that exist in
 2   the motion for protective order and agree that plaintiff’s time to file a response should be
 3
     extended from October 19, 2020 to November 19, 2020 in the hope that, in the meantime, the
 4
     parties can resolve the issues and render the defendant’s motion moot.
 5
 6          5.      I declare under penalty of perjury that the foregoing is true and correct.

 7          DATED this 19th day of October 2020.
 8
                                                                   /s/ Ross Moynihan
 9                                                                 ROSS MOYNIHAN, ESQ.

10
                          MEMORANDUM OF POINTS AND AUTHORITIES
11
12            FRCP 6(b) states:

13            (b) Extending Time.
14            (1) In General.

15            When an act may or must be done within a specific time. The court may, for
              good cause, extend the time:
16
17                  (A)     with or without motion or notice if the courts acts, or if a request
                            is made, before the original time or its extension expires; or
18                  (B)     on motion made after the time has expired if the party failed to
                            act because of excusable neglect.
19
20            LRIA6-1 states in pertinent part:

21            (a)   A motion or stipulation to extend time must state the reasons for the
                    extension requested and must inform the court of all previous extension
22                  of the subject deadline the court granted.
23                  ...

24            (c)   A stipulation or motion to seeking to extend the time to file an
                    opposition or reply to a motion, or to extend the time fixed for hearing a
25
                    motion, must state in its opening paragraph the filing date of the subject
26                  motion or the date of the subject hearing.

27   ///
28
     ///



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 1          Based upon the declaration of counsel, plaintiff submits that good cause exists for the
 2   extension of plaintiff’s time to file his response to defendant’s motion for protective from
 3
     October 19, 2020 to November 19, 2020.
 4
            Dated this 19th day of October 2020.
 5
 6                                                                STOVALL & ASSOCIATES

 7                                                                /s/ Ross Moynihan
                                                                  ROSS H. MOYNIHAN, ESQ.
 8
                                                                  Nevada Bar No. 11848
 9                                                                2301 Palomino Lane
                                                                  Las Vegas, Nevada 89107
10                                                                Attorney for Plaintiffs
11
12                               IT IS SO ORDERED.
13
14                               ___________________________________
15                               Cam Ferenbach
                                 United States Magistrate Judge
16
17                                       10-20-2020
                                 Dated:_____________________________
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 1                                   CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on the 19th day of October 2020, service of the foregoing
 3
     PLAINTIFF’S MOTION TO EXTEND THE TIME FOR PLAINTIFF TO FILE A RESPONSE
 4
     TO DEFENDANT’S MOTION FOR PROTECTIVE ORDER FORBIDDING DISCLOSURE
 5
 6   was made this date through the court’s electronic filing system to the following:

 7   Richard A. Schnofeld, Esq.
     CHESNOFF & SCHONFELD
 8
     520 South Fourth Street
 9   Las Vegas, NV 89101
     Email: rschonfeld@cslawoffice.net
10   Attorneys for Defendant
11
     Matthew R. Giacomini, Esq.
12   Springer and Steinberg, P.C.
     1600 Broadway Suite 1200
13   Denver, CO 80202
     Email: mgiacomini@springersteinberg.com
14
     Attorneys for Defendant
15
16                                                /s/ Ross Moynihan
17                                                An employee of STOVALL & ASSOCIATES

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